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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
                      Government,               §
                                                §
VS.                                             §     CRIMINAL NO. H-10-108-3
                                                §
LILIANA MADRIGAL,                               §
                                                §
                      Defendant.                §

                                            ORDER

       The defendant, Lilliana Madrigal filed a joint unopposed motion to waive the presentence

report. (Docket Entry No. 102). The motion is granted; this court finds that the information in the

record is sufficient and that this court may properly determine the appropriate sentence. The

sentencing hearing is reset to October 5 , 2010, at 9 :30 a.m.

               SIGNED on October 1, 2010, at Houston, Texas.


                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                       United States District Judge
